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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

COMMODITY FUTURES TRADING
COMMISSION,

22-CV-4563 (AKH)
Plaintiff,
Hon. Alvin K. Hellerstein
v.

GEMINI TRUST COMPANY, LLC

Defendant.

Ne Ne ee ee See Nm” Nema Se” Nene” eee Saar” See”

CONSENT ORDER FOR PERMANENT INJUNCTION, CIVIL MONETARY PENALTY
AND OTHER EQUITABLE RELIEF AGAINST DEFENDANT
GEMINI TRUST COMPANY, LLC

L INTRODUCTION
On June 6, 2022, Plaintiff Commodity Futures Trading Commission (“Commission” or
“CFTC”) filed a Complaint against Defendant Gemini Trust Company, LLC (“Gemini Trust” or
“Defendant”) seeking injunctive and other equitable relief, as well as the imposition of civil
penalties, for violations of the Commodity Exchange Act (“Act”), 7 U.S.C. §§ 1-26, and the
Commission’s Regulations (“Regulations”) promulgated thereunder, 17 C.F.R. pts. 1-190 (2024).

I. CONSENTS AND AGREEMENTS

To effect settlement of all charges alleged in the Complaint against Defendant without a
trial on the merits or any further judicial proceedings, Defendant:

1, Consents to the entry of this Consent Order for Permanent Injunction, Civil
Monetary Penalty, and Other Equitable Relief Against Defendant (“Consent Order”);

2, Affirms that it has read and agreed to this Consent Order voluntarily, and that no

promise, other than as specifically contained herein, or threat, has been made by the Commission

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or any member, officer, agent, or representative thereof, or by any other person, to induce consent

to this Consent Order;
3.

A,

Acknowledges service of the summons and Complaint;

Admits the jurisdiction of this Court over it and the subject matter of this action

pursuant to Section 6c of the Act, 7 U.S.C. § 13a-1;

5.

Admits the jurisdiction of the Commission over the conduct and transactions at

issue in this action pursuant to the Act;

6.

7.

8.

Admits that venue properly lies with this Court pursuant to 7 U.S.C. § 13a-1(e);

Waives:

(a)

(b)

(c)

(d)

Any and ali claims that it may possess under the Equal Access to Justice
Act, 5 U.S.C. § 504 and 28 U.S.C, § 2412, and/or the rules promulgated by
the Commission in conformity therewith, Part 148 of the Regulations,
17 CER. pt. 148 (2024), relating to, or arising from, this action;

Any and all claims that it may possess under the Small Business Regulatory
Enforcement Fairness Act of 1996, Pub. L. No. 104-121, tit. IL, §§ 20\-253,
110 Stat. 847, 857-74 (codified as amended at 28 U.S.C, § 2412 and in
scattered sections of 5 U.S.C. and 15 U.S.C.), relating to, or arising from,
this action;

Any claim of Double Jeopardy based upon the institution of this action or
the entry in this action of any order imposing a civil monetary penalty or
any other relief, including this Consent Order; and

Any and all rights of appeal from this action,

Agrees for purposes of the waiver of any and all rights under the Equal Access to

Justice Act specified in paragraph 7(a) above that Defendant is not the prevailing party in this

action;

9,

Consents to the continued jurisdiction of this Court over it for the purpose of

implementing and enforcing the terms and conditions of this Consent Order and for any other

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purpose relevant to this action, even if Defendant now or in the future resides outside the
jurisdiction of this Court,

10. Agrees that it will not oppose enforcement of this Consent Order on the ground, if
any exists, that it fails to comply with Rule 65(d) of the Federal Rules of Civil Procedure and
hereby waives any objection based thereon;

11. Agrees that neither it nor any of its agents or employees under its authority or
control shall take any action or make any public statement denying, directly or indirectly, any
allegation in the Complaint ot the Findings of Fact or Conclusions of Law in this Consent Order,
or creating or tending to create the impression that the Complaint and/or this Consent Order is
without a factual basis; provided, however, that nothing in this provision shall affect its: (a)
testimonial obligations, or (b) right to take legal positions in other proceedings to which the
Commission is not a party;

12. Consents to the entry of this Consent Order without admitting or denying the
allegations of the Complaint or any findings or conclusions in this Consent Order, except as to
jurisdiction and venue, which it admits;

13. Consents to the use of the findings and conclusions in this Consent Order in this
proceeding and in any other proceeding brought by the Commission or to which the Commission
is a party or claimant, and agrees that they shall be taken as true and correct and be given preclusive
effect therein, without further proof,

14, Does not consent, however, to the use of this Consent Order, or the findings and
conclusions herein, as the sole basis for any other proceeding brought by the Commission or to
which the Commission is a party, other than a: statutory disqualification proceeding; proceeding

in bankruptcy, or receivership; or proceeding to enforce the terms of this Order;

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15. Agrees that no provision of this Consent Order shall in any way limit or impair the
ability of any other person or entity to seek any legal or equitable remedy against Defendant in any
other proceeding. Except as expressly set forth herein, this Consent Order does not preclude
Defendant from presenting any argument or defense in such other proceeding.

lil. FINDINGS OF FACT AND CONCLUSIONS OF LAW

The Court, being fully advised in the premises, finds that there is good cause for the entry
of this Consent Order and that there is no just reason for delay. The Court therefore directs the
entry of the following Findings of Fact, Conclusions of Law, permanent injunction and equitable
relief pursuant to Section 6c of the Act, 7 U.S.C. § 13a-l, as set forth herein.

THE COURT HEREBY FINDS:
A. Findings of Fact

1. The Parties to this Consent Order

16. Plaintiff Commodity Futures Trading Commission is an independent federal
regulatory agency that is charged by Congress with administering and enforcing the Act and the
Regulations.

17. Defendant Gemini Trust is a New York-chartered limited liability trust company
based in New York, New York, whose business during the Relevant Period (defined below) was
to operate a virtual currency trading platform (“Gemini Trust Exchange”) and offer custodial and
related services. Gemini Trust has not been registered with the Commission,

2. Overview

18. From at least in or around July 2017 through at least in or around December 2017
(the “Relevant Period”), Gemini Trust, through certain employees, officers, or agents (“Gemini

Trust Representatives”), made certain statements to Commission staff in connection with

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Commission staffs evaluation of the potential self-certification by a designated contract market
(the “DCM”) of a bitcoin futures contract (the “Bitcoin Futures Contract’).

19. Section 5(c) of the Act permits a DCM to list a new futures contract for trading by
providing the Commission a written certification that the new contract complies with the Act and
Regulations. 7 U.S.C. § Ja-2(c). The written certification must include, among other things, an
explanation and analysis of the product’s compliance with the core principles for contract markets
set forth in the Act and Regulations, including Core Principle 3, See Regulation 40.2(a), 17 CBR.
§ 40,2(a) (2024). Core Principle 3 requires that a DCM shall list only contracts that are not readily
susceptible to manipulation. See Section 5(d)(3) of the Act, 7 U.S.C. § 7(d4)(3); Regulation 38.200,
17 C.F.R. § 38.200 (2024), Unless the Commission finds that certification of the new product
would be inconsistent with the Act or Commission regulations, the DCM may list the new product
no sooner than one full business day following the self-certification. See Section Sc(c) of the Act,
7 U.S.C. § 7a-2(c); Regulation 40.2(a), 17 C.F.R. § 38.200 (2024). The Commission can request
“additional evidence, information or data that demonstrates that the contract meets, initially or on
a continuing basis, the requirements of the Act or the Commission’s regulations or policies
thereunder.” See 17 C.F.R, § 40.2(b).

>0. Because the Bitcoin Futures Contract was to be settled by reference to the spot
bitcoin price on the relevant day as determined by an auction (the “Gemini Trust Auction”) held
on the Gemini Trust Exchange, Commission staff reviewed, among other things, whether the
Gemini Trust Auction would be readily susceptible to manipulation, In connection with this
review, Gemini Trust through Gemini Trust Representatives and through the DCM, made
statements to Commission staff about, among other things, facts relevant to understanding whether

the Bitcoin Futures Contract would be readily susceptible to manipulation.

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21. As described below, Gemini Trust Representatives made certain statements to
Commission staff that Gemini Trust reasonably should have known were false or misleading, and
Gemini Trust also failed to disclose certain facts needed to make its statements not false or
misleading, These statements (and facts omitted from disclosure) were material to Commission
staff's evaluation of the Bitcoin Futures Contract, including compliance with Core Principle 3,

22. These false or misleading statements and omissions were made within the scope of
the Gemini Trust Representatives’ employment or office at Gemini Trust.

3, Gemini Trust’s Statements

a. Statements Concerning “Prefunding”

23, During the Relevant Period, Gemini Trust made statements to Commission staff
regarding Gemini Trust’s purported “prefunding requirement” and the cost of capital to trade in
the Gemini Trust Auction.

24. Gemini Trust represented that it was a “fall reserve” exchange that required all
transactions to be fully “prefunded.” In particular, on July 25, 2017, Gemini Trust and the DCM
presented a slide deck to Commission staff authored, in relevant part, by a then Gemini Trust
Representative (“Employee A”) and reviewed by other Gemini Trust Representatives that included
a statement that trading on the Gemini Trust Exchange was “fully (pre-) funded.” Gemini Trust
later stated that a Gemini Trust market participant was “not permitted to place an order unless they
had enough funds in their account to place [the] order.” Gemini Trust also represented that the
“prefunding” requirement made its exchange and auction less susceptible to manipulation because
it increased traders’ cost of capital and made it costly for a malicious market participant to engage
in manipulative tactics.

25, Gemini Trust did not, however, disclose to Commission staff that certain market

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maker Gemini Trust customers could and did obtain loans of digital assets from a Gemini Trust
affiliate. One purpose of these loans was to facilitate and increase trading on the Gemini Trust
exchange and in Gemini Trust Auctions. While lending arrangements do not necessarily violate
the Act or Regulations, the loans effectively allowed Gemini Trust customers to place orders on
the Gemini Trust Exchange and in the Gemini Trust Auction without fully prefunding their
accounts with their own funds.

26. Gemini Trust also did not disclose to Commission staff that before and during the
Relevant Period, a then Gemini Trust Representative (“Employee B”) gave “advances” or “credits”
of U.S. dollars or digital assets to certain customers in violation of a Gemini Trust policy. These
advances or credits could immediately be used for trading and Gemini Trust gave such advances
by directly crediting the customer’s account. These were made in order to induce, facilitate, or
fund trading in the Gemini Trust Auction. Similar to the loans from the Gemini Trust affiliate,
these advances and credits effectively allowed Gemini Trust customers to place orders on the
Gemini Trust Exchange and in the Gemini Trust Auction without fully prefunding their accounts
with their own funds. Gemini has represented that there were no policy violations following
Employee B’s suspension.

27, In light of these facts, Gemini Trust reasonably should have known that statements
to the Commission staff concerning prefunding were inaccurate.

b. Statements Concerning “Self-Trading”

28. During the Relevant Period, Gemini Trust made statements to Commission staff
regarding the extent and possibility of self-trading on the Gemini Trust Exchange.

29. Gemini Trust represented that self-trading on its exchange was “prohibited,” that it

had a technological means to prevent self-trading from occurring; that self-trading on its exchange

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was not possible; and that this served as an auction protection against manipulation. For example,
in one written submission on September 12, 2017, Gemini Trust represented under a section titled
“Solf-Trade Prevention” that it “prohibit[ed] the same market participant from crossing with
himself or herself (either intentionally or unintentionally) .. . in a [Gemini Trust] Auction.”

30. Gemini Trust did not, however, disclose that before around May 2017, Gemini
Trust did not have any technological means to prevent self-trading from occurring in Gemini Trust
Auctions. Gemini Trust also did not disclose that there were instances of self-trading in Gemini
Trust Auctions prior to May 2017. Gemini Trust also did not disclose that, even after
implementing a technological mechanism to prevent self-trading in Gemini Trust Auctions in or
around May 2017, there were instances in which a single market participant was on both sides of
a trade in a Gemini Trust Auction.

31. In light of these facts, Gemini Trust reasonably should have known that statements
to Commission staff concerning self-trading were inaccurate.

c. Statements Concerning “Rebates”

32, During the Relevant Period, Gemini Trust made statements to Commission staff
regarding trading fee rebates available to participants on the Gemini Trust Exchange and in the
Gemini Trust Auction.

33. Gemini Trust represented that its market maker trading fee rebates served as an
auction protection against manipulation by increasing participation, After Commission staff
requested details concerning Gemini Trust’s market maker fee rebate program generally, and,
specifically, as it pertained to market makers participating in Gemini Trust Auctions, in an August
25, 2017 written response in relevant part authored by Employee A and reviewed by other Gemini

Trust Representatives, Gemini Trust represented that (a) it had no specifically defined market

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maker program; (b) it had implemented a trading fee program that was available to all Gemini
Trust market participants; and (c) the public fee schedule on Gemini Trust’s website at the time
reflected the details of the program available to all Gemini Trust customers.

34, Gemini Trust, however, did not disclose that from 2016 through the Relevant
Period, Gemini Trust at times entered into bespoke fee arrangements not available to all customers
with certain market participants, including market makers, that were not disclosed on Gemini
Trust’s website, at more favorable terms than those listed on the website and designed to promote
trading in the Gemint Trust Auction, While Gemini Trust later provided Commission staff with a
policy document that included the policy for these special incentives, Gemini Trust did not
highlight the provision as relevant to the Commission’s staff evaluation of the Bitcoin Futures
Contract.

35, Gernini Trust also did not disclose that, in and around June through August 2017,
two Gemini Trust customers engaged in fraudulent or collusive trading that took advantage of
bespoke fee arrangements not identified on Gemini Trust’s website and not disclosed to the CFTC,
in order to earn rebates from Gemini Trust. Gemini Trust further did not disclose to Commission
staff that it suspended those customer accounts after the trading scheme was discovered and that
it had reported the trading scheme to law enforcement.

36, In or around August 30, 2017 Gemini Trust suspended (and later terminated)
Employee A and Employee B, who were involved in arranging or approving the fee rebates given
to the customers who engaged in the fraudulent or collusive trading.

37. Gemini Trust’s most senior management had come to believe that Employee A and
Employee B were not trustworthy.

38, Employee A was closely involved in the engagement with the Commission staff

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concerning the Bitcoin Futures Contract, This person had been a principal speaker on behalf of
Gemini Trust during in-person meetings with Commission staff on July 25, 2017 and August 28,
2017 that were also attended by other Gemini Trust Representatives.

39. Gemini Trust did not inform Commission staff involved in evaluating the Bitcoin
Futures Contract that it had suspended (and later terminated) Employee A and Employee B or that
Gemini Trust senior management had formed the belief that these employees were not trustworthy.

40, In light of these facts, Gemini Trust reasonably should have known that statements
to Commission staff concerning its market maker fee rebate programs were inaccurate,

d. Statements Concerning “Volume”

A\, During the Relevant Period, Gemini Trust Representatives made statements to
Commission staff regarding the Gemini Trust Exchange's trading volume and liquidity.

42, Gemini Trust made a series of statements concerning trading volume and liquidity
on the Gemini Trust Exchange, including in written submissions where Gemini Trust presented
auction and trading information, including auction trading volume information, and a submission
of data including its historical auction trading data.

43, Gemini Trust, however, did not disclose that a portion of its historical trading
volume reflected trading that was executed by recipients of the loans and advances referenced in
paragraphs 25-26 herein and bespoke rebates referenced in paragraph 34 herein, included self-
trading referenced in paragraph 30 herein, and included certain fraudulent or collusive trading that
had occurred as referenced in paragraph 35 herein.

44. In light of these facts, Gemini Trust reasonably should have known that statements
to Commission staff concerning historic trading volume were inaccurate.

4, Materiality

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45, The statements and omissions to Commission staff described above were material,
including to Commission staff’s evaluation of the Bitcoin Futures Contract.
B. Conclusions of Law

Jurisdiction and Venue

46. This Court possesses jurisdiction over this action pursuant to 28 U.S.C. § 1331
(codifying federal question jurisdiction) and 28 U.S.C. § 1345 (providing that U.S. district courts
have original jurisdiction over civil actions commenced by the United States or by any agency
expressly authorized to sue by Act of Congress). Section 6c(a) of the Act, 7 U.S.C. § 13a-1(a),
provides that the Commission may bring actions for injunctive relief or to enforce compliance with
the Act or any rule, regulation, or order thereunder in the proper district court of the United States
whenever it shall appear to the Commission that any person has engaged, is engaging, or is about
to engage in any act or practice constituting a violation of any provision of the Act or any rule,
regulation, or order thereunder.

47, Venue properly lies with this Court pursuant to 7 U.S.C. § 13a-1(e), because
Defendant resides in this jurisdiction and the acts and practices in violation of the Act occurred
within this District.

48. Section 6(c)(2) of the Act, 7 U.S.C. 3 9(2), states:

It shail be unlawful for any person to make any false or misleading statement of a

material fact to the Commission, including in any registration application or any

report filed with the Commission under this chapter, or any other information

relating to a swap, or a contract of sale of a commodity, in interstate commerce, oF

for future delivery on or subject to the rules of any registered entity, or to omit to

state in any such statement any material fact that is necessary to make any statement

ofa material fact made not misleading in any material respect, if the person knew,

or reasonably should have known, the statement to be false or misleading.

By the conduct described in paragraphs 1 through 45 above, Gemini Trust violated Section 6(c)(2)

of the Act. The Gemini Trust Representatives’ acts, omissions, and failures described above were

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made within the scope of their office, employment or agency at Gemini Trust, and therefore, the
violations are deemed the acts, omissions, and failures of Gemini Trust pursuant to 7 US.C. §
2(a)(1)(B) and 17 C.F.R. § 1.2 (2024).

49. Unless restrained and enjoined by this Court, there is a reasonable likelihood that
Defendant will continue to engage in the acts and practices alleged in the Complaint and in similar
acts and practices in violation of the Act and Regulations.

IV. PERMANENT INJUNCTION

IT IS HEREBY ORDERED THAT:

50, Based upon and in connection with the foregoing conduct, pursuant to Section 6c
of the Act, 7 U.S.C. § 13a-1, Defendant is permanently restrained, enjoined and prohibited from
making false or misleading statements or omitting to state material facts to the Commission, in
violation of Section 6(c)(2) of the Act, 7US.C. § 9(2).

Vv. CIVIL MONETARY PENALTY

51. Defendant shall pay a civil monetary penalty in the ammount of five million dollars
($5,000,000) (“CMP Obligation”), within ten days of the date of the entry of this Consent Order. If
the CMP Obligation is not paid in full within ten days of the date of entry of this Consent Order,
then post-judgment interest shall accrue on the unpaid portion of the CMP Obligation beginning
on the date of entry of this Consent Order and shall be determined by using the Treasury Bill rate
prevailing on the date of entry of this Consent Order pursuant to 28 U.S.C, § 1961.

52. Defendant shall pay its CMP Obligation and any post-judgment interest, by
electronic funds transfer, U.S. postal moncy order, certified check, bank cashier’s check, or bank

money order. If payment is to be made other than by electronic funds transfer, then the payment

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shall be made payable to the Commodity Futures Trading Commission and sent to the address
below:

MMAC/ESC/AMK326

Commodity Futures Trading Commission
6500 S. MacArthur Blvd.

HQ Room 266

Oklahoma City, OK 73169
9-amz-ar-cftc@faa.gov

If payment by electronic funds transfer is chosen, Defendant shall contact the Federal Aviation
Administration at the email address above to receive payment instructions and shall fully comply
with those instructions. Defendant shall accompany payment of the CMP Obligation with a cover
letter that identifies Defendant and the name and docket number of this proceeding. Defendant
shall simultaneously transmit copies of the cover letter and the form of payment to the Chief
Financial Officer, Commodity Futures Trading Commission, Three Lafayette Centre, 1155 21st
Street, NW, Washington, D.C. 20581.

53. Partial Satisfaction: Acceptance by the Commission of any partial payment of
Defendant’s CMP Obligation shall not be deemed a waiver its obligation to make further payments
pursuant to this Consent Order, or a waiver of the Commission’s right to seek to compel payment
of any remaining balance.

VL MISCELLANEOUS PROVISIONS

54. Until such time as Defendant satisfies in full its CMP obligation under this Consent
Order, upon the commencement by or against Defendant of insolvency, receivership or bankruptcy
proceedings or any other proceedings for the settlement of Defendant’s debts, all notices to creditors
required to be furnished to the Commission under Title 11 of the United States Code or other
applicable law with respect to such insolvency, receivership bankruptcy or other proceedings, shall

be sent to the address below:

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Secretary of the Commission

Office of General Counsel

Commodity Futures Trading Commission
Three Lafayette Centre

1155 21st Street N.W.

Washington, DC 20581

55. Notice: All notices required to be given by any provision in this Consent Order,
except as set forth in paragraphs 52 and 54, above, shall be sent certified mail, return receipt
requested, as follows:

Notice to Commission:

Manal M. Sultan

Deputy Director

Commodity Futures Trading Commission

Division of Enforcement

290 Broadway, Suite 600

New York, NY 10007

Notice to Defendant Gemini Trust:

William Costello

General Counsel

Gemini Trust Company, LLC

600 Third Avenue, 2d Floor

New York NY 10016
All such notices to the Commission shall reference the name and docket number of this action,

56. Change of Address/Phone: Until such time as Defendant satisfies in full its CMP
Obligation as set forth in this Consent Order, Defendant shall provide written notice to the
Commission by certified mail of any change to its telephone number and mailing address within
ten calendar days of the change.

57. Entire Agreement and Amendments: This Consent Order incorporates all of the

terms and conditions of the settlement among the parties hereto to date. Nothing shall serve to

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amend or modify this Consent Order in any respect whatsoever, unless: (a) reduced to writing;
(b) signed by all parties hereto; and (c) approved by order of this Court.

58.  Invalidation: If any provision of this Consent Order or if the application of any
provision or citcumstance is held invalid, then the remainder of this Consent Order and the
application of the provision to any other person or circumstance shall not be affected by the
holding.

59. Waiver: The failure of any party to this Consent Order at any time to require
performance of any provision of this Consent Order shall in no manner affect the right of the party
at a later time to enforce the same or any other provision of this Consent Order. No waiver in one
or more instances of the breach of any provision contained in this Consent Order shall be deemed
to be or construed as a further or continuing waiver of such breach or waiver of the breach of any
other provision of this Consent Order.

60. Continuing Jurisdiction of this Court: This Court shall retain jurisdiction of this
action to ensure compliance with this Consent Order and for all other purposes related to this
action, including any motion by Defendant to modify or for relief from the terms of this Consent
Order.

61. Injunctive and Equitable Relief Provisions: The injunctive and equitable relief
provisions of this Consent Order shall be binding upon the following persons who receive actual
notice of this Consent Order, by personal service or otherwise: (1) Defendant; (2) any officer,
agent, servant, employee, or attorney of the Defendant; and (3) any other persons who are in active

concett or participation with any persons described in subsections (1) and (2) above.

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62. Authority: William Costello hereby warrants that he is the General Counsel of
Gemini Trust, and that this Consent Order has been duly authorized by Gemini Trust, and he has
been duly empowered to sign and submit this Consent Order on behalf of Gemini Trust.

63. Counterparts and Facsimile Execution: This Consent Order may be executed in
two or more counterparts, all of which shall be considered one and the same agreement and shall
become effective when one or more counterparts have been signed by each of the partics hereto
and delivered (by facsimile, e-mail, or otherwise) to the other party, it being understood that all
parties need not sign the same counterpart. Any counterpart or other signature to this Consent
Order that is delivered by any means shall be deemed for all purposes as constituting good and
valid execution and delivery by such party of this Consent Order.

64. Contempt: Defendant understands that the terms of the Consent Order are
enforceable through contempt proccedings, and that, in any such proceedings it may not challenge
the validity of this Consent Order.

65. Agreements and Undertakings: Defendant shall comply with all the undertakings
and agreements set forth in this Consent Order.

There being no just reason for delay, the Clerk of the Court is hereby ordered to enter this
Consent Order for Permanent Injunction, Civil Monetary Penalty, and Other Equitable Relief

Against Defendant Gemini Trust Company, LLC forthwith and without further notice.

IT IS SO ORDERED on this hy “day 0

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CONSENTED TO AND APPROVED BY:

BocuSigned by:

(Millian Costello

DcoBDEGSeI4040A-

Gemini Trust Company LLC
William Costello, General Counsel

Date: 26 December 2024

Approved as to form:

J Se F Baughman

Baughman Kroup Bosse PLLC

One Liberty Plaza — 46" Floor

New York, NY 10006

(212) 548-3212

Attorney for Gemini Trust Company, LLC

KENNETH
TOMER

Digitally signed by KENNETH
TOMER
Date: 2025.01.06 10:35:05 -05'00'

Commodity Futures Trading Commission
Division of Enforcement

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